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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
Charlottesville Division

ELIZABETH SINES, SETH WISPELWEY,
MARISSA BLAIR, TYLER MAGILL, APRIL
MUNIZ, HANNAH PEARCE, MARCUS
MARTIN, JOHN DOE, JANE DOE 1, JANE
DOE 2, AND JANE DOE 3,

Plaintiffs,
v. Civil Action No.: 3:17CV00072

JASON KESSLER, RICHARD SPENCER,
CHRISTOPHER CANTWELL, JAMES ALEX
FIELDS, JR., VANGUARD AMERICA,
ANDREW ANGLIN, MOONBASE

HOLDINGS, LLC, ROBERT “AZZMADOR”
RAY, NATHAN DAMIGO, ELLIOTT

KLINE a/k/a ELI MOSELEY, IDENTITY
EVROPA, MATTHEW HEIMBACH, MATTHEW
PARROTT a/k/a DAVID MATTHEW PARROTT,
TRADITIONALIST WORKER PARTY,
MICHAEL HILL, MICHAEL TUBBS, LEAGUE
OF THE SOUTH, JEFF SCHOEP, NATIONAL
SOCIALIST MOVEMENT, NATIONALIST
FRONT, AUGUSTUS SOL INVICTUS,
FRATERNAL ORDER OF THE ALT-KNIGHTS,
MICHAEL “ENOCH” PEINOVICH, LOYAL
WHITE KNIGHTS OF THE BU KLUX KLAN,
and EAST COAST KNIGHTS OF THE KU KLUX
KLAN a/k/a EAST COAST KNIGHTS OF THE
TRUE INVISIBLE EMPIRE,

Defendants.

NOTICE OF MISSTATEMENT

 

COMES NOW Defendant JAMES ALEX FIELDS, JR., by counsel, to advise the Court that

he has not agreed that Plaintiffs’ Motion to Stnke his Opposition to Motion To Proceed Under
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Pseudonyms as represented by Plaintiffs’ counsel and objects to same being ruled on without a

hearing at which time he asks this Court to rule on Plaintiffs’ Motion to Proceed Under Pseudonyms

subject to his opposition,

At 9:51 am. on Monday, February 12, 2018, Plaintiffs’ counsel emailed undersigned and

other counsel in this case asking “whether you consent to the Court ruling on Doe Plaintiff's Motion”

and providing a copy of the Motion to Strike Fields Opposition. Plaintiffs’ counsel attempted to

impose a deadline on this response seven hours and nine minutes later without any authority to do so.

Without receiving a response in any form from Fields or his counsel, Plaintiff filed the erroneous

notice advising the Court that Fields agreed to a decision on this motion without a hearing, Fields

does not. Fields requests this Court hold a hearing to rule on Plaintiffs’ Motion to Proceed Under

Pseudonyms and should the Court deem it necessary, to Rule on Plaintiffs’ Motion to Strike Fields’

Opposition at that time.

Respectfully submitted,

JAMES ALEX FIELDS, JR.
By Counsel

/s/ David L. Campbell
David L. Hauck, Esquire (VSB# 20565)
David L. Campbell, Esquire (VSB #75960)
DUANE, HAUCK, GRAVATT & CAMPBELL P.C.
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Counsel for Defendant James A. Fields, Jr.
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CERTIFICATE OF SERVICE

I hereby certify that on 134! day of February, 2018, I filed the foregoing with the Clerk of
Couret through the CM/ECF system, which will send a notice of electronic filing to the following:

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Traditionalist Worker Party, Vanguard America, and Robert
Ray

Michael Peinovich, Defendant pro se
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And I hereby certify that | will mail the document by U.S. mail to the following non-
filing users:

Richard Spencer
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Alexandria, Virginia 22314

Loyal White Knights of the Ku Klux Klan
c/o Chris and Amanda Baker

PO Box 54

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